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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 24-CR-00251-RMR

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. RONALD KING,
 2. VICTOR ROITER,
 3. TINA WELLMAN,
 4. ADAM SHORR,
 5. ROBERT O’SULLIVAN,
 6. BRADLEY EDSON, and
 7. JOHN GAUTEREAUX,

        Defendants.


        PROTECTIVE ORDER REGARDING CONFIDENTIAL INVESTIGATIVE
                            INFORMATION


        THIS MATTER comes before the Court on the Government’s Unopposed Motion for

 Protective Order as to Confidential Investigative Information. Pursuant to Federal Rule of

 Criminal Procedure 16(d)(1) and for good cause shown,

        IT IS HEREBY ORDERED AS FOLLOWS:

        1.      Items and information subject to this Order will be designated by the United

 States when produced to the defense as “Confidential Investigative Information.”

        2.      Confidential Investigative Information produced to Defendants in this case may

 be disclosed only to defense counsel and their staff and to the Defendants.

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        3.      Defense counsel and Defendants shall maintain the Confidential Investigative

 Information in strict confidence and may use the Information exclusively in connection with this

 case, and for no other purpose.

        4.      Defense counsel and defendants are prohibited from disclosing the substance of

 any information included in the Confidential Investigative Information, including the identity of

 any cooperating witnesses disclosed therein, to any other person.

        5.      Defense counsel must maintain the Confidential Investigative Information in their

 possession. Defense counsel shall provide the Defendant with access to review the Information,

 but defense counsel must store, hold, and control all copies of the Information and ensure that the

 Defendant does not retain any copies of the Information, or any notes made by the Defendant

 containing the Information.

        6.      Counsel shall ensure that Defendants are provided a copy of and read this Order

 and understand its terms.

        7.      If a document containing Confidential Investigative Information is filed with the

 Court, the filing party must file the document under seal, restricted at Level 3. The Clerk shall

 accept for filing as restricted any such filings by the parties without the filing of a separate

 motion to restrict.

        8.      Upon entry of a final judgment in this case and the conclusion of any direct

 appeals, counsel (1) will ensure the destruction of the Confidential Investigative Information

 from all authorized persons to whom that information has been disclosed, and (2) defense

 counsel shall maintain any Confidential Investigative Information only as required by document


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 retention policies or professional legal obligations, and shall maintain any such information in a

 secure manner as part of the case file and for use only in connection with this case.

        9.      If the United States determines that any discovery designated as Confidential

 Investigative Information no longer needs to be protected by the terms of this Order, the United

 States will so inform defense counsel in writing. At that time, the Information specified will be

 treated consistent with the general Protective Order in this case (doc. #83).

        10.     The order does not constitute a ruling on the question of whether any particular

 material is discoverable or admissible and does not constitute any ruling on any potential

 objection to the discoverability of any material.



            16th day of January, 2025.
 DATED this _____

                                               BY THE COURT:


                                               ____________________________
                                               Hon. Regina M. Rodriguez
                                               United States District Judge
                                               District of Colorado




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